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CAHILL GORDON & REINDEL LLP
JOEL KURTZBERG
FLOYD ABRAMS
JASON ROZBRUCH
LISA J. COLE
32 Old Slip
New York, New York 10005
Telephone: 212-701-3120
Facsimile: 212-269-5420
jkurtzberg@cahill.com

DOWNEY BRAND LLP

WILLIAM R. WARNE (Bar No.
bwarne@downeybrand.com
MEGHAN M. BAKER (Bar No.
mbaker@downeybrand.com
621 Capitol Mall, 18th Floor
Sacramento, CA 95814
Telephone: 916-444-1000
Facsimile: 916-520-5910

Attorneys for Plaintiff X Corp.

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(admitted pro hac vice)
(admitted pro hac vice)

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

X CORP.,
Plaintiff,
Ve
ROBERT A. BONTA, Attorney
General of California, in his

official capacity,

Defendant.

No. 2:23-cv-01939-WBS-AC

AFFIDAVIT OF
IN SUPPORT OF X CORP.’S MOTION
FOR PRELIMINARY INJUNCTION
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ee being duly sworn, deposes and states as follows:

1. I am a I on the Trust and Safety Team at X Corp,
covering product, policy, and operations. In this role, I assist

with the creation, implementation, and enforcement of policies —

including content moderation policies — on the X platform.
2. I am submitting this affidavit in support of Plaintiff’s
Motion for Preliminary Injunction. I have personal knowledge of

the facts set forth herein, unless otherwise noted. If called upon
as a witness, I could and would competently testify to those facts.
I. Applicability of AB 587

Bh. I have reviewed and am familiar with the law in this
case: California’s AB 587. AB 587 applies to X Corp. and its X
platform.

4, X Corp. is a “social media company,” as defined by
§ 22675(d), as it is a “person or entity that owns or operates a
social media platform,” as defined by the statute. xX Corp. owns
and operates X, which is a social media platform, as defined by AB
587.

5. xX Corp. generated more than one hundred million dollars
in gross revenue during the 2023 calendar year.

6. X is a “social media platform,” as defined by § 22675(e),
as it is a public internet-based application that has users in
California. A substantial function of X is to connect users in

order to allow users to interact socially with each other within
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the service or application. xX allows users to construct public or
semipublic profiles for purposes of signing into and using the
application. X also allows users to create or post content viewable
to others and populate a list of other users with whom an individual
shares a social connection within the system.
IIT. Burdens of AB 587

7. AB 987 purports to require large social media companies,
such as X Corp., to (1) post terms of service dictated by the
government and include terms about how content is moderated on
their platforms (the “Terms of Service Requirement”) and (2)
submit, on a semi-annual basis, to the California Attorney General
a “terms of service report” that includes, among other things, (a)
“a detailed description of content moderation practices used by
the social media company. for that platform’; (b) information about
whether, and if so how, the social media company defines and
moderates (1) hate speech or racism, (ii) extremism or
radicalization, (iil) disinformation or misinformation, (iv)
harassment, and (v) foreign political interference; as well as (c)
information and statistics about actions taken by the social media
company to moderate these categories of content (the “Terms of
Service Report”). §§ 22676, 22677.

8. The Terms of Service Requirement in AB 587 burdens X
Corp. by letting the State mandate the format and contents of X

Corp.’s Terms of Service. Specifically, it requires X Corp. to,
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among other things:

a. Make public commitments to respond to and resolve
reports of flagged content or violations of the terms
of service within a specified time period.
§ 22676(b) (2).

b. Create and publish Terms of Service in twelve
different languages - specifically, the Medi-Cal
threshold languages pursuant to the Health and Safety
Code § 128552, if the platform offers product features
in those languages. § 22676(c). Upon information
and belief this includes: (1) Arabic, (2) Armenian,
(3) Cambodian, (4) Cantonese, (5) Farsi, (6) Hmong,
(7) Korean, (8) Mandarin, (9) Russian, (10) Spanish,
(11) Tagalog, and (12) Vietnamese. See Exhibit 1,
which is a true and correct copy of the Primary
Language of Newly Medi-Cal Eligible Individuals,
California Department oof Health Care Services,
available at

https://data.chhs.ca.gov/dataset/primary-language-

of-newly-medi-cal-eligible-

individuals/resource/706bf0a7-9bb4-4674-9b58-

917daacl10d25 (last visited Oct. 6, 2023). X Corp.

currently offers product features in eight of twelve

applicable Medi-Cal threshold languages.
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9. Compliance with the Terms of Service Report of AB 587
would be even more burdensome - particularly in light of the
quantity of content posted on X.

10. Our current best estimate is that, over the past 30 days,
there have been on average, approximately 7,000 posts (formerly
called “tweets”) made on X every second. If we extrapolate from
that number, ‘that would be approximately 420,000 posts per minute,
604.8 million posts per day, and almost 221 billion posts per year.

11. To complete the Terms of Service Report required by AB
587, X Corp. would need to keep track of and categorize any and
all of the content moderation decisions made as to the almost 221
billion posts each year, including the millions of moderation
actions taken each year by automated enforcement tools.

12. The Terms of Service Report reguired by AB 587 would
force X Corp. to disclose “any existing policies intended to

address” the categories of content identified by the statute (i.e.,

“hate speech or racism,” “extremism or radicalization,”
“disinformation or misinformation,” “harassment,” and “foreign
political interference.” § 22677 (a) (4) (A) and (a) (3).

13. This would be extremely difficult for X Corp. to do. xX
Corp. already has detailed descriptions of its content moderation
policies available to LT pilsdbie online. (This is addressed in
more detail below.) But X Corp.'s categories of content

moderation, while comprehensive, do not align with the categories

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identified in the statute. And the listed statutory categories
are controversial and difficult to define.

14. For example, X Corp. does not currently regulate “hate
speech,” “racism,” or “extremism” per se, yet these are three
categories of conduct that AB 587 forces social media companies to
publicly address. § 22677 (a) (3). But X Corp. regulates “violent
speech,” “hateful conduct,” and “violent and hateful entities,”
categories of content that may include content that some people
might argue constitutes “hate speech,” “racism,” and/or
“extremism.” See Exhibit 2 (Violent Speech Policy), Exhibit 3
(Hateful Conduct Policy) and Exhibit 5 (Violent and Hateful
Entities Policy). Thus, X Corp.’s current policies do not fit
within the allotted statutory categories. And it is not at all
clear whether X Corp.’s “violent speech,” “hateful conduct,” and
“violent and hateful entities” policies are “intended to address”
the statutory categories, which tend to mean different things to
different people.

15. Because the statute provides the Attorney General with
discretion to impose significant civil penalties for noncompliance
- of up to $15,000 per violation per day, § 22678 - which includes
a violation for material omissions or misrepresentations in the
Terms of Service Report, § 22678 at (a) (2) (C), it gives the Attorney
General complete discretion to determine whether he believes that

it would be a violation to submit a report that did not include
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information about a policy like the “hateful conduct” policy, which
does not fit neatly into the statutory categories.

16. The Terms of Service Report required by AB 587 would also
force X Corp. to disclose “[h]ow automated content moderation
systems enforce terms of service and when these systems involve
human review.” § 22677 (a) (4) (B).

17. This would harm X Corp. because it would force X Corp.
to disclose publicly information about its automated content
moderation systems that is highly confidential and that could put
X Corp. at a competitive disadvantage if made public. Moreover,
disclosure of this information to the public would undermine X
Corp.-’s policy enforcement by providing malicious actors with
information that they would likely leverage in attempts to
circumvent and manipulate our policy enforcement mechanisms.
Disclosure of this information is therefore likely to compromise
the safety and integrity of the X platform.

18. Perhaps most significantly, the Terms of Service Report
required by AB 587 would also force X Corp. to:

a. Collect, analyze, and generate reports detailing (i)
the total number of flagged items of content; (ii) the
total number of actioned items of content; (i111) the
total number of actioned items of content that
resulted in action taken by the social media company

against the user or group of users responsible for the
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content; (iv) the total number of actioned items of
content that were removed, demonetized, or
deprioritized by the social media company; (v) the
number of times actioned items of content were viewed
by users; and (vi) the number of times actioned items
of content were shared, and the number of users that
viewed. the content before it was actioned. §

22677 (a) (5) (A).

- All of the information in @ 14(i) above must then be

disaggregated into (i) the category of content;
(ii) the type of content, including, but not limited
to, posts, comments, messages, profiles of users, or
groups of users; (iii) the type of media of the
content, including, but not limited to, text, images,
and videos; (iv) how the content was flagged,
including, but not limited to, flagged by company
employees or contractors, flagged by artificial
intelligence software, flagged by community
moderators, flagged by civil society partners, and
flagged by users; (v) how the content was actioned,
including, but not limited to, actioned by company
employees or contractors, actioned by artificial
intelligence software, actioned by community

moderators, actioned by civil society partners, and
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actioned by users; and (vii) the number of times users
appealed social media company actions taken on that
platform and the number of reversals of social media
company actions on appeal disaggregated by each type
of action. § 22677 (a) (5) (B).

19. The reporting requirement under AB 587 requires three
reports be submitted to the Attorney General in 2024. The first
report is due on January 1, 2024 and covers activity within the
third quarter of 2023. § 22677 (b) (2).

20. It would be enormously burdensome to create and
categorize those records for the almost 221 billion posts made on
X each year. X Corp. does not currently have the tools,
infrastructure, or staff levels necessary to meet the onerous
reporting requirements of AB 587. Indeed, X Corp. would need to
design, build, and implement entirely new tools and workflows,
including a new categorization system for moderation actions, in
order to comply in good faith with the requirements of AB 587.

21. %In the third quarter of 2023, there were approximately
55 billion posts on X. X Corp. has not undertaken the burden of
identifying how many of these 55 billion posts may constitute hate
speech, racism, extremism, radicalization, disinformation,
misinformation, harassment, or foreign political interference, and
doing so would require making numerous highly controversial

decisions regarding what posts fit in each of those categories.
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Nor has X Corp. aggregated statistics on actions and appeals taken
with respect to this content, as required in § 22677(a) (5).

22. My team’s initial estimate is that implementing the
infrastructure and processes necessary to comply with the
requirements of AB 587 would require at least six months and involve
at least thirty xX Corp. employees — diverting engineering,
business, and legal resources away from existing, mission-critical
projects. To comply with AB 587, X Corp. would need to indefinitely
commit resources to the maintenance and operation of this new
compliance infrastructure.

23. X Corp. would need to hire new employees and/or onboard
contractors in order to allocate resources to achieve good faith
compliance with AB 587. Doing so would cost X Corp. hundreds of
thousands or millions of dollars per year.

24. This does not even factor in burdens imposed by follow-
up questions that will almost surely be asked by the Attorney
General about compliance. Given the broad enforcement powers
granted to the Attorney General under California law, AB 587 would
authorize the Attorney General to issue -document demands and
follow-up requests to social media companies about their content
moderation policies and practices to determine if they have
complied with the statute in ‘reasonable, good faith.”
§ 22678 (a) (3)... Responding to, such requests would impose

Significant additional burdens on X Corp. and other social media

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companies.

KIL. The Controversial Nature of Content Moderation

25. Social media content moderation is an inherently
controversial undertaking. How social media companies define
categories of speech that will or will not be permitted on their
platforms and how they apply their rules on content moderation to
particular posts are fraught with sensitive and controversial
questions and are subject to rigorous debate and controversy. Put
another way, deciding what content should appear on a social media
platform is a question that engenders considerable debate among
reasonable people about where to draw the correct proverbial: line.

26. At X Corp., we take very seriously our responsibility to
make well-thought out content moderation decisions and to make sure
those decisions are accessible and understandable to our users.
But in making these difficult calls, we have learned that, no
Matter what we do, some portion of the public will likely take
issue with the way we have made these difficult judgment calls.

27. As the California Assembly Committee on Privacy and
Consumer Protection correctly explained in analyzing AB 587,
content moderation by social media companies presents those
companies with a “complex dilemma” because, whatever those
companies do, their decisions are subject to controversy and “both
action and inaction by these companies seem[] to be equally

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maligned[.] Affidavit of Joel Kurtzberg in Support of Motion for

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Preliminary Injunction, Exs. 5, 8, and 9.

28. This is consistent with our experience at X Corp. There
is intense public debate and controversy about how to define the
categories of content that should be limited on the social media
platform and how to apply those categories to content on the social
media platform. No matter what decisions are made, there are
almost always large groups of people who disagree with them.

29. And the categories identified by the statute are among
the most difficult to define and the most controversial to apply.
While there is a general consensus that clear and extreme illegal
content, such as child pornography, should not be permitted on a

social media platform, there is no such consensus as to the

categories identified by the statute - e.g., “hate speech, racism,
extremism, misinformation, political interference, and
harassment.” Those categories of content are defined differently

by different people and are therefore highly controversial to
define and apply in practice.
IV. Content Moderation at X Corp.

30. X Corp. goes to great lengths to make its content
moderation policies relevant and transparent. X Corp.’s rules,
policies, and procedures about content moderation are all publicly
available and are regularly revisited and updated based on X
Corp.’s editorial judgments about what should and should not be

permitted on the X platform.

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31.

Annexed hereto are true and correct copies of current X

Corp. policies that concern content moderation and transparency

efforts:

. Exhibit 2: Violent Speech Policy, X Corp., June 2023,

available at https://help.twitter.com/en/rules-and-

policies/violent-speech (last visited Oct. 6, 2023);

. Exhibit 3: Abuse and Harassment, X Corp., June 2023,

available at https://help.twitter.com/en/rules-and-

policies/abusive-behavior (last visited Oct. 6, 2023);

. Exhibit 4: Hateful Conduct Policy, X Corp., Apr. 2023,

available at https://help.twitter.com/en/rules-and-

policies/hateful-conduct-policy (last visited Oct. 6,

2023);

. Exhibit 5: Violent and Hateful Entities Policy, X

Corp., Apr. 2023, available at

https://help.twitter.com/en/rules-and-

policies/violent-entities (last visited Oct. 6, 2023);

. Exhibit 6: Abusive Profile Information, X Corp.,

available at https://help.twitter.com/en/rules-and-

policies/abusive-profile (last visited Oct. 6, 2023);

. Exhibit 7: Crisis Misinformation Policy, X Corp., Aug.

2022, available at

https: //help.twitter.com/en/rules-and-

policies/crisis-misinformation (last visited Oct. 6,

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2023);
g. Exhibit 8: Synthetic and Manipulated Media Policy, X
Corp., Apr. 2023, available at

https://help.twitter.com/en/rules-and-

policies/manipulated-media (last visited Oct. 6,

2023);
h. Exhibit 9: Civic Integrity Policy, X Corp., Aug. 2023,

available at https://help.twitter.com/en/rules-and-

policies/election-integrity-policy (last visited Oct.

6, 2023).
32. Additional X Corp. rules, policies, and procedures that
may address content moderation and transparency efforts are

available to the public at http://help.twitter.com/en/rules-and-

policies (last visited Oct. 6, 2023).

33. As detailed in these policies, X Corp. does moderate
content that may arguably be covered by some of the controversial
categories set forth in AB 587. For example, X Corp. moderates
hateful, conduct, crisis misinformation, violent speech, abuse and
harassment, child sexual exploitation, abusive profiles, violent
and hateful entities, and glorification of violence.

34. X Corp. crafted its rules, policies, and procedures with
the objective of ensuring all can engage in the critical public
debates surrounding these topics freely and safely.

35. In creating its rules, policies, and procedures around
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content moderation, X Corp. takes into consideration insights
gained over the past seventeen years that the platform has been
operational, including feedback from trusted experts at X Corp.,
our users, and the public at large.

36. XK Corp. dedicates immense time, energy, and resources
into crafting these rules, policies, and procedures and ensuring
they are accessible and understandable to its users.

37. Through AB 587, the government is impermissibly trying
to frame the content moderation debate and force social media
companies like X Corp. to conform moderation practices to the
government’s content moderation priorities and categorizations.

38. By compelling speech about these controversial topics,
the State is, in our view, trying to pressure X Corp. to regulate
content in the way it wants by framing the public debate about
content moderation. If X Corp. does not regulate the categories
of content identified by the statute, then the State and/or the
public may easily try to pressure X Corp. to do so by drawing
attention to that fact or threatening enforcement actions unless X
Corp. agrees to do so.

39. X Corp. would be harmed by AB 587’s requirements that it
make certain statements about a controversial topic against its

will.

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Dated:
October , 2023 /

Sworn to before me this

6 day of October, 2023

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Notary Public

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